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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


Emerald Parkway Valley Equity Group, LLC,

                   Plaintiff,

       v.                                              Case No. 1:24-cv-03039

Sun Life Assurance Company of Canada,

                   Defendant.



             STIPULATED CONFIDENTIALITY AND PROTECTIVE ORDER


       The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

       1.       Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be subject to

this Order concerning Confidential Information as defined below. This Order is subject to the Local

Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.

       2.      Confidential Information. As used in this Order, “Confidential Information” means

information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by the

producing party that falls within one or more of the following categories: (a) information

prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) research,

technical, commercial or financial information that the party has maintained as confidential; (d)

medical information concerning any individual; (e) personal identity information; (f) income tax
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returns (including attached schedules and forms), W-2 forms and 1099 forms; or (g) personnel or

employment records of a person who is not a party to the case. Information or documents that are

available to the public may not be designated as Confidential Information.

         3.       Designation.

                  (a)      A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” on the document and on all copies in a manner that will not interfere

with the legibility of the document. As used in this Order, “copies” includes electronic images,

duplicates, extracts, summaries or descriptions that contain the Confidential Information. The

marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied prior to or

at the time of the documents are produced or disclosed. Applying the marking “CONFIDENTIAL

- SUBJECT TO PROTECTIVE ORDER” to a document does not mean that the document has

any status or protection by statute or otherwise except to the extent and for the purposes of this

Order. Any copies that are made of any documents marked “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” shall also be so marked, except that indices, electronic databases or lists

of documents that do not contain substantial portions or images of the text of marked documents

and do not otherwise disclose the substance of the Confidential Information are not required to be

marked.

                  (b)      The designation of a document as Confidential Information is a certification

by an attorney or a party appearing pro se that the document contains Confidential Information as

defined in this order. 1


1
  An attorney who reviews the documents and designates them as CONFIDENTIAL - SUBJECT TO PROTECTIVE
ORDER must be admitted to the Bar of at least one state but need not be admitted to practice in the Northern District of
Illinois unless the lawyer is appearing generally in the case on behalf of a party. By designating documents
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         4.       Depositions.

Deposition testimony is protected by this Order only if designated as “CONFIDENTIAL –

SUBJECT TO PROTECTIVE ORDER” on the record at the time the testimony is taken. Such

designation shall be specific as to the portions that contain Confidential Information. Deposition

testimony so designated shall be treated as Confidential Information protected by this Order until

fourteen days after delivery of the transcript by the court reporter to any party or the witness.

Within fourteen days after delivery of the transcript, a designating party may serve a Notice of

Designation to all parties of record identifying the specific portions of the transcript that are

designated Confidential Information, and thereafter those portions identified in the Notice of

Designation shall be protected under the terms of this Order. The failure to serve a timely Notice of

Designation waives any designation of deposition testimony as Confidential Information that was

made on the record of the deposition, unless otherwise ordered by the Court.

         5.       Protection of Confidential Material.

                  (a)      General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph (b)

for any purpose whatsoever other than in this litigation, including any appeal thereof.

                  (b)        Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third person or

entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

                  (1)      Counsel. Counsel for the parties and employees of counsel who have
                           responsibility for the action;


confidential pursuant to this Order, counsel submits to the jurisdiction and sanctions of this Court on the subject matter
of the designation.
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        (2)   Parties. Individual parties and employees of a party but only to the extent
              counsel determines in good faith that the employee’s assistance is reasonably
              necessary to the conduct of the litigation in which the information is
              disclosed;

        (3)   The Court and its personnel;

        (4)   Court Reporters and Recorders. Court reporters and recorders engaged for
              depositions;

        (5)   Contractors. Those persons specifically engaged for the limited purpose of
              making copies of documents or organizing or processing documents,
              including outside vendors hired to process electronically stored documents;

        (6)   Consultants and Experts. Consultants, investigators, or experts employed by
              the parties or counsel for the parties to assist in the preparation and trial of
              this action but only after such persons have completed the certification
              contained in Attachment A, Acknowledgment of Understanding and
              Agreement to Be Bound;

        (7)   Witnesses at depositions. During their depositions, witnesses in this action
              to whom disclosure is reasonably necessary. Witnesses shall not retain a
              copy of documents containing Confidential Information, except witnesses
              may receive a copy of all exhibits marked at their depositions in connection
              with review of the transcripts. Pages of transcribed deposition testimony or
              exhibits to depositions that are designated as Confidential Information
              pursuant to the process set out in this Order must be separately bound by
              the court reporter and may not be disclosed to anyone except as permitted
              under this Order.

        (8)   Author or recipient. The author or recipient of the document (not
              including a person who received the document in the course of litigation);
              and

        (9)   Others by Consent. Other persons only by written consent of the
              producing party or upon order of the Court and on such conditions as may
              be agreed or ordered.
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               (c)     Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel

shall maintain the originals of the forms signed by persons acknowledging their obligations under

this Order for a period of three years after the termination of the case.

       6.        Inadvertent Failure to Designate. An inadvertent failure to designate a document

as Confidential Information does not, standing alone, waive the right to so designate the

document; provided, however, that a failure to serve a timely Notice of Designation of deposition

testimony as required by this Order, even if inadvertent, waives any protection for deposition

testimony. If a party designates a document as Confidential Information after it was initially

produced, the receiving party, on notification of the designation, must make a reasonable effort to

assure that the document is treated in accordance with the provisions of this Order. No party shall

be found to have violated this Order for failing to maintain the confidentiality of material during a

time when that material has not been designated Confidential Information, even where the failure

to so designate was inadvertent and where the material is subsequently designated Confidential

Information.

         7.      Filing of Confidential Information. This Order does not, by itself, authorize

 the filing of any document under seal. Any party wishing to file a document designated as

 Confidential Information in connection with a motion, brief or other submission to the Court

 must comply with LR 26.2.

         8.      No Greater Protection of Specific Documents. Except on privilege grounds not

 addressed by this Order, no party may withhold information from discovery on the ground that

 it requires protection greater than that afforded by this Order unless the party moves for an order

 providing such special protection.
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       9.      Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge by any

party. The following procedure shall apply to any such challenge.

               (a)     Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis for its

belief that the confidentiality designation was not proper and must give the designating party an

opportunity to review the designated material, to reconsider the designation, and, if no change in

designation is offered, to explain the basis for the designation. The designating party must respond

to the challenge within ten (10) business days.

               (b)     Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of this

procedure. The burden of persuasion in any such challenge proceeding shall be on the designating

party. Until the Court rules on the challenge, all parties shall continue to treat the materials as

Confidential Information under the terms of this Order.

       10.     Action by the Court. Applications to the Court for an order relating to materials or

documents designated Confidential Information shall be by motion. Nothing in this Order or any

action or agreement of a party under this Order limits the Court’s power to make orders concerning

the disclosure of documents produced in discovery or at trial.

       11.     Use of Confidential Documents or Information at Trial. Nothing in this Order

shall be construed to affect the use of any document, material, or information at any trial or hearing.
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A party that intends to present or that anticipates that another party may present Confidential

information at a hearing or trial shall bring that issue to the Court’s and parties’ attention by motion

or in a pretrial memorandum without disclosing the Confidential Information. The Court may

thereafter make such orders as are necessary to govern the use of such documents or information at

trial.

          12.    Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

                 (a)   If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three court days after receiving the subpoena or order. Such

notification must include a copy of the subpoena or court order.

                 (b)   The receiving party also must immediately inform in writing the party who

caused the subpoena or order to issue in the other litigation that some or all of the material covered

by the subpoena or order is the subject of this Order. In addition, the receiving party must deliver a

copy of this Order promptly to the party in the other action that caused the subpoena to issue.

                 (c)   The purpose of imposing these duties is to alert the interested persons to the

existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession, custody

or control Confidential Information by the other party to this case.
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       13.     Challenges by Members of the Public to Sealing Orders. A party or interested

member of the public has a right to challenge the sealing of particular documents that have been

filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

       14.     Obligations on Conclusion of Litigation.

               (a)     Order Continues in Force. Unless otherwise agreed or ordered, this Order shall

remain in force after dismissal or entry of final judgment not subject to further appeal.

               (b)     Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information and

documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under this Order,

including copies as defined in ¶ 3(a), shall be returned to the producing party unless: (1) the

document has been offered into evidence or filed without restriction as to disclosure; (2) the parties

agree to destruction to the extent practicable in lieu of return; or (3) as to documents bearing the

notations, summations, or other mental impressions of the receiving party, that party elects to

destroy the documents and certifies to the producing party that it has done so.

               (c)     Notwithstanding the above requirements to return or destroy documents,

counsel may retain (1) attorney work product, including an index that refers or relates to designated

Confidential Information so long as that work product does not duplicate verbatim substantial

portions of Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be


         1      The parties may choose to agree that the receiving party shall destroy
 documents containing Confidential Information and certify the fact of destruction, and that
 the receiving party shall not be required to locate, isolate and return e-mails (including
 attachments to e-mails) that may include Confidential Information, or Confidential
 Information contained in deposition transcripts or drafts or final expert reports.
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protected under this Order. An attorney may use his or her work product in subsequent litigation,

provided that its use does not disclose or use Confidential Information.

                  (d)    Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

Court.

         15.      Order Subject to Modification. This Order shall be subject to modification by the

Court on its own initiative or on motion of a party or any other person with standing concerning the

subject matter.

         16.      No Prior Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall be

construed or presented as a judicial determination that any document or material designated

Confidential Information by counsel or the parties is entitled to protection under Rule 26(c) of the

Federal Rules of Civil Procedure or otherwise until such time as the Court may rule on a specific

document or issue.

         17.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

          So Ordered.



 Dated: 12/12/2024                                    __________________________________
                                                      Judge Matthew F. Kennelly
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Dated: December 9, 2024           By: /s/ Colby Kingsbury
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Emerald Parkway Valley Equity Group, LLC,

                   Plaintiff,

       v.                                              Case No. 1:24-cv-03039

Sun Life Assurance Company of Canada,

                   Defendant.


               ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Confidentiality Order dated

 _                                                      in the above-captioned action and attached

 hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned

 submits to the jurisdiction of the United States District Court for the Northern District of Illinois

 in matters relating to the Confidentiality Order and understands that the terms of the

 Confidentiality Order obligate him/her to use materials designated as Confidential Information in

 accordance with the Order solely for the purposes of the above-captioned action, and not to

 disclose any such Confidential Information to any other person, firm or concern.
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        The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.

Name:

Job Title:

Employer:

Business Address:




Date:

                                     Signature
